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 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA


 BENJAMIN NORTH,

                        Plaintiff,

          v.                                                Civil Action No. 17-1373 (TNM)

 THE CATHOLIC UNIVERSITY OF AMERICA,


                        Defendant


                    STIPULATION OF DISMISSAL WITH PREJUDICE

         Plaintiff Benjamin North and Defendant The Catholic University of America, by counsel,

and pursuant to Federal Rule of Civil Procedure 4l(a)(1)(A)(ii), stipulate to the dismissal of this

lawsuit and all of North's claims against the University with prejudice, each party to bear its own

costs.

         Dated: November 6, 2019


         Respectfully submitted,
                                                     /s/ Jesse Winograd
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                             CERTIFICATE OF SERVICE

      I HEREBY CERTIFY that on the 6th day of November, 2019, a copy of the foregoing
document was served via the Court’s online filing system to:

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                                               /s/ Jesse Winograd_______________
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